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 8                        UNITED STATES DISTRICT COURT
 9                                   EASTERN DISTRICT OF CALIFORNIA
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11   WAJIH AJIB,                                   Case No. 1:13-cv-01451-LJO-SAB

12                      Plaintiff,
                                                   FINDINGS AND RECOMMENDATIONS
13          v.                                     RECOMMENDING DISMISSING ACTION FOR
                                                   FAILURE TO PROSECUTE
14   FINANCIAL ASSISTANCE, INC., et al.,
                                                   OBJECTIONS DUE WITHIN FOURTEEN DAYS
15                      Defendants.

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17          Plaintiff Wajih Ajib, appearing pro se and in forma pauperis, filed this action on

18   September 11, 2013. (ECF No. 1.) On October 8, 2013, the undersigned screened Plaintiff’s

19   complaint and issued findings and recommendations recommending certain claims be dismissed

20   without leave to amend and Plaintiff’s request for injunctive relief be denied. (ECF No. 4.) On

21   October 28, 2013, District Judge Lawrence J. O’Neill issued an order adopting the findings and

22   recommendations and granted Plaintiff thirty days in which to file an amended complaint to

23   correct the deficiencies in his complaint. (ECF No. 5.) More than thirty days have passed and

24   Plaintiff has not filed an amended complaint in compliance with the October 28, 2013 order. As a

25   result, there is no pleading on file which sets forth any claims upon which relief may be granted.

26          Accordingly, pursuant to 28 U.S.C. § 1915(e), it is HEREBY RECOMMENDED that this

27   action BE DISMISSED, with prejudice, based on Plaintiff’s failure to state any claims upon

28   which relief may be granted.
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 1          These findings and recommendations are submitted to the district judge assigned to this

 2   action, pursuant to 28 U.S.C. § 636(b)(1)(B) and this Court’s Local Rule 304. Within fourteen

 3   (14) days of service of this recommendation, any party may file written objections to these

 4   findings and recommendations with the Court and serve a copy on all parties. Such a document

 5   should be captioned “Objections to Magistrate Judge’s Findings and Recommendations.” The

 6   district judge will review the magistrate judge’s findings and recommendations pursuant to 28

 7   U.S.C. § 636(b)(1)(C). The parties are advised that failure to file objections within the specified

 8   time may waive the right to appeal the district judge’s order. Martinez v. Ylst, 951 F.2d 1153

 9   (9th Cir. 1991).

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     IT IS SO ORDERED.
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12      Dated:     December 4, 2013
                                                         UNITED STATES MAGISTRATE JUDGE
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